      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 1 of 31

                                          I· lJSDC SDNY   '
                                          'DOCUMENT       <
UNITED STATES DISTRICT COURT                r·:l .ECTRONICALLYFILED
SOUTHERN DISTRICT OF NEW YORK



 IN RE GSE BONDS ANTJTRUST                 19-cv-1704 (JSR)
 LITIGATION
                                          OPINION AND ORDER



JED S. RAKOFF, U.S.D.J.

     This putative class action alleges a conspiracy among

several large banks to fix the secondary market prices of GSE

bonds. On September 11, 2019, plaintiffs moved for preliminary

approval of a stipulation and settlement agreement with

defendant Deutsche Bank Securities, Inc.       ("DB"). See Mot. for

Prelim. Approval, ECF No. 255; Burke Deel., Exh. 1, ECF No. 257

("DB Settlement Agreement"). On September 24, 2019, plaintiffs

also moved for preliminary approval of a stipulation and

settlemeht agreement with First Tennessee Bank, N.A. and FTN

Financial Securities Corp.    ("FTN"). Mot. for Prelim. Approval,

ECF No. 265; Burke Deel., Exh. 1, ECF No. 267        ("FTN Settlement

Agreement"). Shortly thereafter, the Court held a preliminary

approval fairness hearing for both proposed settlements. See

Hearing Transcript, ECF No. 286.

     On October 29, 2019 the Court preliminarily approved both

proposed settlements. See Preliminary Approval Order, ECF No.

296. The Court now elaborates on the reasons for this


                                   1
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 2 of 31



preliminary approval, as well as some remaining concerns with

the proposed settlements, especially in the case of the FTN

agreement.

I.   Legal Background

     Fed. R. Civ. P. 23(e) requires judicial approval for any

class action settlement. A class action settlement approval

procedure typically occurs in two stages:       (1) preliminary

approval, where "prior to notice to the class a court makes a

preliminary evaluation of fairness," and (2) final approval,

where "notice of a hearing is given to the class members,         [ and]

class members and settling parties are provided the opportunity

to be heard on the question of final court approval." In re

Payment Card Interchange Fee and Merchant Discount Antitrust

Litig., 330 F.R.D. 11, 28 (E.D.N.Y. 2019). Even at the

preliminary approval stage, the Court's role in reviewing the

proposed settlement "is demanding because the adversariness of

litigation is often lost after the agreement to settle." Zink v.

First Niagara Bank, N.A., 155 F.Supp.3d 297, 308        (W.D.N.Y. 2016)

(citation omitted).

     On December 1, 2018, new amendments to Rule 23 took effect

which altered the standards that guide a court's preliminary

approval analysis. Prior to these changes, Rule 23 did not

specify a standard, and courts in the Second Circuit interpreted

Rule 23 to only require the settlement to be "within the range

                                    2
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 3 of 31



of possible final approval." In re NASDAQ Market-Makers

Antitrust Litig., 176 F.R.D. 99, 102 (S.D.N.Y. 1997). Under the

new, more exacting standards, a district court must consider

whether the court "will likely be able to:        (i) approve the

proposal under Rule 23(e) (2); and (ii) certify the class for

purposes of judgment on the proposal." In re Payment Card., 330

F.R.D. at 28.

II.   Likelihood of Approval Under Rule 23(e) (2) and the Grinnell

      Factors

      To be likely to approve a proposed settlement under Rule

2 3 ( e) ( 2) , the Court must find "that it is fair.,   reasonable, and

adequate." The newly amended Rule 23 enumerates four factors for

the Court to consider as part of this inquiry:           (1) adequacy of

representation,    ( 2) existence of arm's-length negotiations,          ( 3)

adequacy of relief, and (4) equitableness of treatment of class

members. Fed. R. Civ. P. 23(e) (2). Prior to the 2018 amendments,

courts in the Second Circuit considered whether a settlement was

"fair, reasonable, and adequate" under nine factors set out in

City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir.

1974). The Advisory Committee Notes to the 2018 amendments

indicate that the four new Rule 23 factors were intended to

supplement rather than displace these "Grinnell" factors. See

2018 Advisory Notes to Fed. R. Civ. P. 23, Subdiv.           (e) (2)   ("2018




                                     3
         Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 4 of 31



Advisory Note"). Accordingly, the Court considers both sets of

factors in its analysis, noting where they overlap.

   a. Adequacy of Representation

   Rule 2 3 ( e) ( 2) (A) requires a Court to find that "the class

representatives and class counsel have adequateli represented
                                                                     1


the class" before preliminarily approving a settlement.

"Determination of adequacy typically 'entails inquiry as to

whether:     (1) plaintiff's interests are antagonistic to the

interest of other members of the class and (2) plaintiff's

attorneys are qualified, experienced and able to conduct the

litigation.'" Cordes & Co. Fin. Servs. v. A.G. Edwards & Sons,

Inc . , 5 0 2 F . 3 d 91 , 9 9 ( 2 d Cir . 2 0 0 7 )   ( quoting Baff a v .

Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 60                      (2d

Cir. 2000)).

   Here, plaintiffs' interests are aligned with other class

members'     interests because they suffered the same injuries--

monetary losses resulting from GSE bond transactions with

settling defendants. Because of these injuries, plaintiffs have

an "interest in vigorously pursuing the claims of the class."

Denney v. Deutsch Bank AG, 443 F.3d 253, 268                    (2d Cir. 2006). Co-

Lead Counsel have demonstrated that they are qualified,

experienced, and able to conduct the litigation, as evidenced in

their interactions with the Court as well as with a mediator.

See Adler Deel.        CJ[   6, ECF. 257 Exh. 1. Rule 23 (e) (2) (A)' s

                                               4
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 5 of 31



adequacy of representation prong thus weighs in favor of

approval.

  b. Presence of Arm's-Length Negotiations

  Rule 23 (e) (2) (B)   requires procedural fairness, as evidenced by

the fact that "the proposal was negotiated at arms length." If a

class settlement is reached through arm's-length _negotiations

between experienced, capable counsel knowledgeable in complex

class litigation, "the Settlement will enjoy a presumption of

fairness." In re Austrian & German Bank Holocaust Litig., 80 F.

Supp. 2d 164, 173-74     (S.D.N.Y. 2000), aff'd sub nom., D'Amato v.

Deutsche Bank, 236 F.3d 78     (2d Cir. 2001). Further, a mediator's

involvement in settlement negations can help demonstrate their

fairness.   In re Payment Card, 330 F.R.D. at 35. Here, the

parties engaged in mediation and the mediator's declaration

confirms that the settlement agreements were "a product of

extensive and informed negotiations conducted at arm's length"

by "sophisticated and capable counsel." Adler Deel.        ~   6, ECF.

257 Exh. 1. Rule 23(e) (2) (B) thus weighs in favor of preliminary

approval.

  c. Adequacy of Relief

  Rule 23 (e) (2) (C)   requires examining whether relief for the

class is adequate, taking into account:

   (i) the costs, risks, and delay of trial and appeal;          (ii) the

   effectiveness of any proposed method of distributing relief to

                                    5
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 6 of 31



  the class, including the method of processing class-member

  claims, if required;    (iii) the terms of any proposed award of

  attorney's fees,   including timing of payment; and (iv) any

  agreement required to be identified under Rule 23(e) (3).

This inquiry overlaps significantly with a number of Grinnell

factors, which help guide the Court's application of Rule

23 (e) (2) (C) (i). In re Payment Card, 330 F.R.D. at 36. For the

reasons below, the Court finds that most of these factors weigh

in favor of approval of the settlement agreements, though some

factors raise some questions as to whether the FTN Settlement

Agreement is adequate.

     i.   Rule 23 (e) (2) (C) Adequacy Factors

          1. Costs, Risk, Delay of Trial and Appeal

  In order to assess adequacy under Rule 23 (e) (2) (C) (i), "courts

may need to forecast the likely range of possibl~ classwide

recoveries and the likelihood of success in obtaining such

results." In re Payment Card, 330 F.R.D. at 36 (citing the 2018

Advisory Note). This inquiry overlaps significantly with a

number of Grinnell factors.    Id.

  One relevant Grinnell factor is a consideration of the

"complexity, expense and likely duration of the litigation."

Grinnell, 495 F.2d at 463. Courts favor settlement when

litigation is likely to be complex, expensive, or drawn out.

Numerous federal courts have recognized that "[f]ederal

                                     6
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 7 of 31



antitrust cases are complicated, l~ngthy, and bit~erly fought,"

Wal-Mart Stores Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 118 (2d

Cir. 2005), "as well as costly." In re Vitamin C Antitrust

Litig., No. 06-MD-1738    (BMC), 2012 WL 5289514, at *4 (E.D.N.Y.

Oct. 23, 2012). This antitrust case is not likely to be

different. It involves numerous defendants and complex issues of

fact and law related to the sale of GSE bonds at different

points in time. Further issues are likely to arise at the class

certification stage. Interlocutory appeals may arise after the

Court's class certification decision, generating lengthy delays.

Finally, even if plaintiffs "were to prevail at trial, post-

trial motions and the potential for appeal could prevent the

class members from obtaining any recovery for several years, if
                                                       '
at all." Sykes v. Harris, No. 09-CV-8486, 2016 WL 3030156, at

*12 (S.D.N.Y. May 24, 2016). This Grinnell factor thus weighs in

favor of preliminary approval.

  Another two related Grinnell factors, "the risks of

establishing liability" and "the risks of establishing damages,"

also counsel in favor of preliminarily approving the settlement

agreements. Grinnell, 495 F.2d at 463. To assess these factors,

a court "should balance the benefits afforded the Class,

including immediacy and certainty of recovery, against the

continuing risks of litigation." In re Payment Card, 330 F.R.D.

at 37. Given that multiple remaining defendants·contend that

                                    7
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 8 of 31



they can present a strong case against plaintiffs after

discovery, see Ds. Mem. of Law in Support of Renewed Joint

Motion to Dismiss the Third Amended Compl., ECF. '260 at 11 n.4,

there is no guarantee that plaintiffs will be able to prove

liability.

  Furthermore, even if they prove liability, plaintiffs will

still face difficulties inherent in proving damages. As the

Second Circuit has noted, "the history of antitrust litigation

is replete with cases in which antitrust plaintiffs succeeded at

trial on liability, but recovered no damages, or only negligible

damages, at trial, or on appeal." Wal-Mart Store~, Inc., 396

F.3d at 118 (quoting In re NASDAQ Market-Makers Antitrust

Litig., 187 F.R.D. 465, 476 (S.D.N.Y. 1998)). These two Grinnell

factors also weigh in favor of preliminary approval.

  One final Grinnell factor, which requires a court to assess

"the risks of maintaining a class through the trial," also

supports preliminary approving the settlement ag'reement under

Rule 23 (e) (2) (C) (i). Grinnell, 495 F.2d at 463. Although the

"risk of maintaining a class through trial is present in [every]

class action," Guippone v. BH S & B Holdings LLC, No. 09-CV-

1029, 2016 WL 5811888, at *7     (S.D.N.Y. Sept. 23, 2016)     (citation

omitted), "this factor [nevertheless] weighs in favor of

settlement" where "it is likely that defendants would oppose

class certification" if the case were to be litigated. Garland

                                    8
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 9 of 31



v. Cohen   &    Krassner, No. 08-CV-4626, 2011 WL 6010211, at *8

(E.D.N.Y. Nov. 29, 2011)       (citation omitted). Non-settling

defendants in this case have filed a response indicating that

they "expect to vigorously challenge class certification in this

litigation." Non-Settling Ds. Resp. to Pls. Motions for Prelim.

Approval of Settlements at 1, ECF. No. 271. This 'suggests that

the maintenance of the class would not be guaranteed if the

settling defendants went to trial. This factor thus also weighs

in favor of preliminary approval.

               2. Effectiveness of the Proposed Method of Distributing

                 Relief

  Rule 23 (e) (2) (C) (ii) requires courts to examine "the

effectiveness of any proposed method of distributing relief to

the class, including the method of processing class-member

claims." "A claims processing method should deter or defeat

unjustified claims, but the court should be alert to whether the

claims process is unduly demanding." 2018 Advisory Note.

Furthermore, while the plan of allocation "must be fair and

adequate," it "need only have a reasonable, rational basis,

particularly if recommended by experienced and competent class

counsel." In re WorldCom, Inc. Sec. Litig., 388 ,F. Supp. 2d 319,

344   (S.D.N.Y. 2005)     (quoting Maley v. Del Global Technologies

Corp., 186 F. Supp. 2d 358, 367       (S.D.N.Y. 2002)). "[N]umerous

courts have held .           [that] a plan of allocation need not be

                                     9
        Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 10 of 31



perfect." In re EVCI Career Colleges Holding Corp. Sec. Litig.,

No. 05-CV-10240, 2007 WL 2230177, at *11 (S.D.N.Y. July 27,

2007)   (collecting cases).


                                                         .
  Plaintiffs' proposed Plan of Distribution, ECF No. 281, Exh .

4, meets this standard. Class co-counsel, who are experienced

and competent in class actions, prepared the proposed Plan of

Distribution in consultation with industry and economic

consultants, as well as the proposed Claims Administrator. The

Plan of Distribution would allocate the fund based on a

calculation that accounts for the risk level, maturity, and

volume of bonds purchased by each claimant. Initially, the plan

would categorize GSE bonds into 31 categories based on the

remaining years of maturity when purchased or sold. It would

then assign a risk number to these categories and a multiplier

based on this risk number. Next, the claims administrator would

multiply each claimant's notional volume for each category of

bond by the relevant multiplier, resulting in a transaction

claim amount. Finally, the claimant's pro rata share of the

settlement would be obtained by dividing the individual

transaction claim amount by the total of all transaction claim

amount. The plan would also implement a reasonable minimum

payment threshold.

  The Plan of Distribution represents a reasonable method of

ensuring "the equitable ~nd timely distribution of a settlement

                                      10
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 11 of 31



fund without burdening the process in a way that.will unduly

waste the fund." In re Credit Default Swaps Antitrust Litig.,

2016 WL 2731524, at *4    (S.D.N.Y. 2016). Although'the minimum

payment threshold might theoretically block some legitimate

claims, plaintiffs' counsel has represented that this threshold

will be no higher than the bare minimum necessary for the claims

administrator to process a simple claim. See Hearing Transcript

at 12, ECF No. 286; see also In re Gilate Satellite Networks,

Ltd., No. 02-cv-1510, 2007 WL 1191048, at *9-10 (E.D.N.Y. Apr.

19, 2007)   (approving a de minimis threshold in order to "save

the settlement fund from being depleted by the administrative

costs associated with claims unlikely to exceed those costs" and

noting that "courts have frequently approved such thresholds").

This factor thus weighs in favor of preliminary approval.

            3. The Terms of Any Proposed Award of Attorneys' Fees

  Rule 23 (e) (2) (C) (iii) requires courts to exami,ne "the terms of

any proposed award of attorneys' fees,      including timing of

payment." The total settlement fund will be $14.5 million for

FTN and $15 million for DB. Co-counsel "will apply for an award

of attorneys'   fees not to exceed 26% of the Settlement Fund plus

payment of Litigation expenses, as well as interest on the

attorneys' fees and Litigation expenses." Pls. Mem. of Law in

Support of Motion for Prelim. Approval of Stipulation and

Agreement of Settlement with Deutsche Bank Securities 17, ECF.

                                    11
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 12 of 31



No. 256 ("Pls. Mem. DB"); Pls. Mem. of Law in Support of Motion

for Prelim. Approval of Stipulation and Agreement of Settlement

with First Tennessee Bank, N.A.     &    FTN Financial Securities Group

10, ECF. No. 266 ("Pls. Mem. FTN"). Half of the fees will be

paid upon final approval of the settlement, and the other half

will be paid when distribution of the proceeds to claimants has

been very substantially completed. DB Settlement 'Agreement 1 29;

FTN Settlement Agreement 1 27.

  Courts in this District have approved fees as high as 33.5%

from comparable class settlement funds, finding that they are

"well within the applicable range of reasonable percentage fund

awards." In re DDAPV Direct Purchaser Antitrust Litigation, No.

05-2237, 2011 WL 12627961 (S.D.N.Y. Nov. 28, 2011)         (approving

33.5% from a class settlement fund of $20.25 million); see In re

Oxycontin Antitrust Litig., No. 04-md-1603-SHS, ECF No. 360

(S.D.N.Y. Jan. 25, 2011)    (awarding 33.5% from a class settlement

fund of $16 million). The fee of 26% from a $14.5 million and

$15 million settlement fund thus does not weigh against

preliminary approval of the settlements.

  However, as noted at oral argument, the Court will not approve

the payment of any of the costs of the mediation the parties

engaged in. Hearing Transcript at 6, ECF No. 286. The parties

did not seek the Court's approval before engaging in this

outside mediation, and there is a free mediation service

                                    12
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 13 of 31



available in the Southern District of New York. The attorneys

for each side thus must bear the mediation costs and not pass

them on to the class.

           4. Any Agreement Required to be Identified Under Rule

              23 (e) (3)

  Rule 23 (e) (2) (C) (iv) requires courts to consider "any

agreement required to be identified by Rule 23(e) (3)," that is,

"any agreement made in connection with the proposal." FTN has

filed one such agreement under seal. The Court has reviewed the

agreement and finds that it has no bearing on the preliminary

approval analysis.

     ii.   Grinnell Adequacy Factors

           1. Defendants' Ability to Withstand a Greater Judgment

  The seventh Grinnell factor -- defendants' ability to

withstand a greater judgment -- disfavors approval of both

settlement agreements, but particularly the FTN Settlement

Agreement. Grinnell, 495 F.2d at 463. Both DB and FTN are large

corporations, and there is no evidence on the record that they

could not withstand a greater judgment. Although courts have

noted that a defendant's cooperation "tends to offset the fact

that they would be able to withstand a larger judgment," In re

Pressure Sensitive Labelstock Antitrust Litig.·, 584 F.Supp.2d

697, 702   (M.D. Pa. 2008), this mitigating factor, only supports

the adequacy of the DB Settlement Agreement. As discussed in

                                   13
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 14 of 31



more detail below, only DB has offered cooperation that the

Court may take account of at this stage in the approval process.
                                                       ;



  The seventh Grinnell factor thus weighs slightly against

preliminary approval of the DB Settlement Agreement, and more

strongly against preliminary approval of the FTN Settlement

Agreement. Some courts have held, however, that "in any class

action against a large corporation, the defendant entity is

likely to be able to withstand a more substantial judgment, and,

against the weight of the remaining factors, this fact alone

does not undermine the reasonableness of the instant

settlement." In re Vitamin C, 2012 WL 5289514, at *6 (quoting

Weber v. Gov't Emps. Ins. Co., 262 F.R.D. 431, 447         (D.N.J.

2009)). Thus, this factor, standing alone is not enough to

require disapproval of the FTN settlement at this stage.

          2. Range of Reasonableness of the Settlement Fund in

             Light of the Best Possible Recovery and Attendant

             Risks of Litigation

  Two additional Grinnell factors weigh against preliminary

approval of the FTN Settlement Agreement. Courts often consider

Grinnell factor 8, "the range of reasonableness of the

settlement in light of the best possible recovery," and Grinnell

factor 9, "the range of reasonableness of the settlement fund to

a possible recovery in light of all the attendant risks of

litigation," together. In re Payment Card, 330 F,R.D. at 47-48.

                                    14
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 15 of 31



As discussed supra Section II.C.i.1, some risks would be

attendant upon continuing to litigate against eiiher defendant.

Whether these risks justify a settlement in the amount agreed to

by plaintiffs, however, requires analysis of the best possible

recovery plaintiffs could expect.

  Plaintiffs' risk-reward calculation appears reasonable with

respect to the DB Settlement Agreement. Plaintiffs represent

that the best possible recovery against DB would be between $90

million and $113 million based on single damages.         Pls. Mem. DB

11. Plaintiffs' use of single damages in their best possible

recovery calculation is appropriate here. Although plaintiffs

would ordinarily be entitled to automatic treble damages in this

case, see 15 U.S.C. § 15(a), DB is a leniency applicant under

the Antitrust Criminal Penalty Enhancement and Reform Act of

2004   ("ACPERA"). If DB provides satisfactory cooperation under

ACPERA,   it will be "liable only for actual damages and only for

damages from its own product sales, not from the sales of its

co-conspirators." See ACPERA, § 213(a)-(b). Thus, the Court

accepts plaintiffs' representation that the proposed settlement

of $15 million represents 13% to 17% of plaintiffs' best

possible recovery.

  While this may be only fraction of the best possible recovery,

courts in this district have approved similar percentages. E.g.,

In re Currency Conversion Fee Antitrust Litig., No.         01 MDL 1409,

                                    15
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 16 of 31



2006 WL 3247396, at *6 (preliminarily approving settlements

"representing roughly 10-15% of the credit transa~tion fees

collected by Defendants").

  Furthermore, DB has offered cooperation which has added

significant value to its settlement agreement. For example, the

chatroom evidence DB offered as part of its cooperation was

essential to the survival of many of plaintiffs' 'claims at the

motion to dismiss stage. See Hearing Transcript at 7, ECF No.

286. DB also added "significant value" by being a settlement

"ice-breaker," or first party to settle, potentially helping to

spur other parties to settlement. In re Packaged Ice Antitrust

Litig., 2011 WL 717519, at *10 (E.D. Mich. Feb. 22, 2011).

Finally, DB has agreed to implement substantial antitrust

compliance remediation measures for a period of two years, which

provides some additional value. These two Grinnell adequacy

factors thus weigh in favor of preliminary approval of the DB

Settlement Agreement.

  However, plaintiffs' risk-reward calculation with respect to

the FTN Settlement Agreement is less persuasive. Plaintiffs

represent that the best possible recovery against all defendants

would be between $857 million and $1.68 billion based on single

damages. Pls. Mem. FTN 8. Based on FTN's market share over the

class period of 4.63%, plaintiffs claim that the $14.5 million




                                    16
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 17 of 31



settlement amount represents 18.6% to 36.5% of the best possible

damages against FTN.

  Plaintiffs' use of single damages in their best possible

recovery calculation in this case, however, belies this claim.

Unlike DB, FTN would be subject to automatic treble damages and

recovery of plaintiffs' attorneys'       fees were plaintiffs to

succeed at trial. Plaintiffs should thus have ca~culated their

best possible recovery based on treble damages and recovery of

attorneys'   fees, and the Court will assess the adequacy of the

settlement amount based on these factors.

  Contrary to the parties' assertions, nothing in Grinnell

requires the Court to assess the adequacy of the settlement

based on single damages. The Grinnell court merely suggested

that there are "strong reasons" why a court should compute best

possible recovery figures based on single, rather than treble

damages. 495 F.2d at 458. Further, as another court in this

district has recognized in a decision affirmed bY the Second

Circuit, this language is best characterized as dicta. In re

Auction Houses Antitrust Litig., No. 00 CIV. 0648         (LAK), 2001 WL

170792, at *7   (S.D.N.Y. Feb. 22, 2001), aff'd, 42 F. App'x 511

(2d Cir. 2002).

  Moreover, there are strong countervailing reasons why it is

entirely appropriate to base recovery figures on treble damages

and recovery of attorneys'     fees. Most obviously, in an antitrust

                                    17
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 18 of 31



action like this one, if liability is proved, the trebling of

damages and award of attorneys'       fees is automatic. See 15 U.S.C.

§ 15(a). Thus, to ignore the fact that both parties consider the

possibility of trebling damages and award of attorneys' fees

when assessing whether to settle is not only "to ignore economic

reality," In re Auction Houses, 2001 WL 170792, at *7, but also

to put a judicial thumb on the scale in favor of smaller

settlements.

  Based on these and other considerations, this Court joins a

number of other courts that have held that consideration of

treble damages and recovery of attorneys' fees is entirely

appropriate. See, e.g., In re Compact Disc Minimum Advertised

Price Antitrust Litig., 216 F.R.D. 197, 210 n. 30        (D. Me. 2003)

("[I]f a settlement reflects a potential damage recovery,         it

should logically reflect the other parts of that recovery

(trebling and attorneys'     fees)   that the statute awards

automatically."); see also Rodriguez v. W. Publ'g Corp., 563

F.3d 948,   955   (9th Cir. 2009)    (holding that district courts are

not precluded from considering treble damages in an adequacy

assessment).

  Employing treble damages and recovery of attorneys' fees as

the baseline for plaintiffs' best possible recovery, the

plaintiffs' proposed settlement with FTN reveals, itself to be

quite modest. By the Court's calculation, $14.5 million

                                      18
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 19 of 31



represents only about 6-12% of plaintiffs' best possible

recovery. Trebling the damages figures provided by plaintiffs,

plaintiffs' best possible recovery against all defendants would

be between $2.57 billion and $5.04 billion. Based on FTN's

market share over the class period of 4.63%, the ·range of

recovery for FTN would be between $119.04 million and $233.4

million. Employing the modest assumption that plaintiffs would

be awarded attorneys' fees amounting to 26% of the current

settlement fund -- which is what they request here -- plaintiffs

would receive an additional $3.77 million. Thus, the range of

best possible recovery would be from $122.81 million and $237.17

million, and the settlement fund of $14.5 million is only 6-12%

of this best possible recovery.

  The parties urge that FTN's cooperation, like DB's, enhances

this meager sum. FTN's cooperation, however, is contingent upon

preliminary approval of the FTN Settlement Agreement. FTN

Settlement Agreement 1 15. The value of FTN's cooperation will

thus only become apparent after the Court preliminarily approves

the settlement. The Court will not credit FTN for cooperation of

unknown value, and this future cooperation thus poes nothing to

affect the weighing of the small monetary settlement sum at this

time. These two Grinnell adequacy factors thus weigh against

preliminary approval of the FTN Settlement Agreement.

  d. Equitable Treatment of Class Members

                                    19
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 20 of 31



    After an adequacy assessment, Rule 23 (e) (2) (d)     finally

requires the Court to consider whether "the proposal treats

class members equitably relative to each other." Consideration

of this factor "could include whether the apportionment of

relief among class members takes appropriate account of

differences among their claims, and whether the scope of the

release may affect class members in different ways that bear on

the apportionment of relief." 2018 Advisory Note.

    Under the proposed plan of distribution, claimants will be

treated equitably by receiving a pro rata share of the recovery

based on the estimated price impact of defendants' conduct on

their GSE bond transactions. Meredith Corp. v. SESAC, LLC, 87

F.Supp.3d 650, 667    (S.D.N.Y. 2015)     (finding that a pro rata

allocation plan "appear[ed] to treat the class members equitably

    . . and has the benefit of simplicity"). Further, all

settlement class members will be required to sign the same

release. DB Settlement Agreement~~ 3-10; FTN Settlement

Agreement~~ 3-9. This release does not appear to affect the

apportionment of relief to other class members, demonstrating

equity. In re Payment Card, 330 F.R.D. at 47. This factor thus

weighs in favor of preliminary approval of both settlements.

    e. Remaining Grinnell Factor 1



1 The Court need not consider Grinnell factor #2, which requires
the Court to evaluate the reaction of the settlement class,
                                     20
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 21 of 31



  One Grinnell factor remains that can help guide the Court's

decision to preliminarily approve the settlements. This third

Grinnell factor requires the court to consider the stage of the

proceedings and amount of discovery completed. The relevant

inquiry "is whether the plaintiffs have obtained a sufficient

understanding of the case to gauge the strengths '.and weaknesses

of their claims and the adequacy of the settlement." In re AOL

Time Warner, Inc., No. 02 Civ. 5575 (SWK), 2006 WL 903236, at

*10   (S.D.N.Y. Apr. 6, 2006); see also In re Global Crossing Sec.

and ERISA Litig., 225 F.R.D. 436, 458       (S.D.N.Y. 2004)    ("Formal

discovery is not a prerequisite; the question is whether the

parties had adequate information about their claims.").

  Here, plaintiffs' counsel is sufficiently well informed. Co-

Lead Counsel undertook an eight-month investigation, which
                                                        1
included expert analysis of publicly available information and

interviews with former GSE bond traders. Pls. Mem. DB 7-8.

Further, plaintiffs' counsel has already gone through mediation

as well as one round of briefing at the motion to dismiss stage,

making it aware of the strengths and weaknesses of plaintiffs'

position and that of defendants. Defendant DB has also provided




because consideration of this factor is generally premature at
the preliminary approval stage. In re Warner Chilcott Ltd. Sec.
Litig., No. 06 Civ. 11515, 2008 WL 5110904, at *2 (S.D.N.Y. Nov.
20, 2008) ("Since no notice has been sent, consideration of this
factor is premature.").
                                    21
        Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 22 of 31



plaintiffs' counsel with extensive evidence essential to its

claims. Finally, some discovery has already begun, and

plaintiffs' counsel has engaged in dozens of meet and confers

with defendants. Taken together, this indicates that plaintiffs

have adequate information such that preliminary approval of the

settlement agreement is warranted.

   f. Rule 23 (e) (2) Conclusion

   Although most of the Rule Rule 23 (e) (2) and Grinnell factors

weigh in favor of preliminary approval of both settlements, the

Court has some concerns about the adequacy of plaintiffs'

settlement with FTN. In light of the automatic treble damages

and attorneys' fees plaintiffs would be entitled to upon proving

FTN's liability, the $14.5 million settlement offer from FTN

appears quite modest. Further, the Court will not credit FTN

with cooperation it has not yet offered. However, given that the

 remaining factors weigh in favor of preliminary approval, and

that FTN's cooperation may yet reveal itself to be valuable for

.purposes of final settlement approval, the Court finds that it

will likely be able to approve the settlement proposals under

 Rule 23 (e) (2).

 III. Likelihood of Certification of the Class

    In order to preliminary approve the settlement proposals, the

 Court must also find that it will likely be able to certify the

 class for purposes of judgment on the proposal. In re Payment

                                      22
         Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 23 of 31



Card., 330 F.R.D. at 28. A court may certify a class for

settlement purposes where the proposed settlement class meets

the requirements for Rule 23(a) class certification, as well as

one of the three subsections of Rule 23(b). In re Am. Intern.

Grp., Inc. Sec. Litig., 689 F.3d 229, 238          (2d Cir.
                                                         i
                                                            2012). The

Court will likely be able to certify the settlement class under

this standard for the reasons set out below. 2

      a. Rule 23(a)

      Rule 23(a)'s four threshold requirements are:        (1) numerosity,

(2)    commonality,   (3) typicality, and (4) adequacy of

representation. Fed. R. Civ. P. 23(a). The settlement class

likely meets each.

        i.    Numerosity

        Rule 23(a) (1) requires a class to be "so numerous that

joinder of all members is impracticable." In this Circuit,

numerosity is presumed for classes of 40 or more. Shahriar v.

Smith & Wollensky Rest. Grp., Inc., 659 F.3d 234, 252 (2d Cir.

2011)     (citing Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d

473, 483 (2d Cir. 1995)). Here, plaintiffs represent that there

are thousands of geographically dispersed class members who




2 This conclusion is, however, entirely without prejudice to
being reconsidered de novo if an when the remaining defendants
contest certification at the time of plaintiffs' motion to
certify.
                                       23
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 24 of 31



transacted in GSE Bonds. Third Amended Compl. at 90, ECF. No.

254. Thus, the numerosity requirement is likely met.

     ii.   Commonality

  Rule 23(a) (2) requires that there be "questions of law or fact

common to the class." A question is common to the class if it is

"capable of classwide resolution--which means that determination

of its truth or falsity will resolve an issue that is central to

the validity of each one of the claims in one stFoke." Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). iCommonality

requires a plaintiff "to demonstrate that the class members have

suffered the same injury." Id. at 349-50 (internal quotations

and citation omitted). "Where the same conduct or practice by

the same defendant gives rise to the same kind of claims from

all class members, there is a common question." Johnson v.

Nextel Commc'ns, Inc., 780 F.3d 128, 137 (2d Cir. 2015). Here,

the commonality requirement is likely met because plaintiffs

allege the same economic injury stemming from the same antitrust

violation -- a conspiracy to fix the price of GSE bonds in the

secondary market -- by the same defendants. In re LIBOR-Based

Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 590

(S.D.N.Y. 2018)   ("[T]he existence of a [price-fixing] conspiracy

is a common question.").

     iii. Typicality




                                    24
      Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 25 of 31



  Rule 23(a) (3) requires that "the claims or defenses of the

representative parties [be] typical of the claims or defenses of

the class." Typicality is satisfied when "each class member's

claim arises from the same course of events, and each class

member makes similar legal arguments to prove the defendant's

liability." Brown v. Kelly, 609 F.3d 467, 475 (2d Cir. 2010)

(citing Marisol A. v. Giuliani, 125 F.3d 372, 37~ (2d Cir. 1997)

(per curiam)). Courts have repeatedly found that typicality is

met when plaintiffs allege an antitrust price-fixing conspiracy

"because Plaintiffs must prove a conspiracy, its effectuation,

and damages therefrom--precisely what the absent .,class members

must prove to recover." In re Currency Conversion Fee Antitrust

Litig., 264 F.R.D. 100, 111 (S.D.N.Y. 2010)       (collecting cases).

Because plaintiffs allege a price-fixing conspiracy by the same

defendants that harmed all class members, the typicality

requirement is likely met.

     iv.   Adequacy of Representation

  Rule 23(a) (4) requires that "the representative parties will

fairly and adequately protect the interests of the class."

Adequacy "entails inquiry as to whether: 1) plaintiff's

interests are antagonistic to the interest of other members of

the class and 2) plaintiff's attorneys are qualified,

experienced and able to conduct this litigation." Baffa v.

Donaldson, Lufkin   &   Jenrette Sec. Corp., 222 F.3d 52,     60   (2d

                                    25
         Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 26 of 31



Cir. 2000). Given the similarity of this inquiry to the adequacy

inquiry under Rule 23 (e) (2) (A), the Court will likely find that

this requirement is met for the reasons outlined supra in

section II.a.

  b.Rule 23(b)

  In addition to finding that the class satisfies Rule 23(a),

the Court must also determine whether the class meets the

requirements of Rule 23 (b) ( 1) ,    ( 2) , or ( 3) . Here, plaintiffs

seek to certify the class under Rule 23(b) (3), which permits

certification where "questions of law or fact common to class

members predominate over any questions affecting,only individual

members, and .          a class action is superior to.other available

methods for fairly and efficiently adjudicating the

controversy." Fed. R. Civ. P. 23(b) (3).

     i.      Predominance of Questions of Law and Fact

  "The predominance inquiry 'asks whether the common,

aggregation-enabling, issues in the case are more prevalent or

important than the non-common, aggregation-defeating, individual

issues.'" Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045

(2016)    (quoting 2   w.   Rubenstein,   NEWBURG   ON CLASS ACTIONS§ 4:49, at

195-96 (5th ed. 2012)). Predominance is satisfied where elements

of plaintiffs' claim may be shown through generalized proof, In

re Foodservice Inc. Pricing Litig., 729 F.3d 108, 118 (2d Cir.

2013), and where such common questions "predomin'ate over any

                                      26
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 27 of 31



questions affecting only individual members." Fed. R. Civ. Proc.

23(b) (3). The Supreme Court has noted that "[p]redominance is a

test readily met in certain cases alleging               violations of

the antitrust laws." Amchem Prods., Inc. v. Windsor, 521 U.S.

591,   625 (1997).

  The predominance test is likely met here because plaintiffs'

antitrust claims predominate and would be proven through common

evidence. See In re Vitamin C Antitrust Litig., 279 F.R.D. 90,

109 (E.D.N.Y. 2012)     (finding that in price-fixing conspiracy

cases "courts have frequently held that the predominance

requirement is satisfied because the existence and effect of the

conspiracy are the prime issues in the case and are common

across the class"). For example, plaintiffs' primary claim

concerning existence and scope of the alleged conspiracy to fix

GSE bond prices can be established by common eviaence such as

the chatroom communications and deposition testimony of traders.

Proof is not likely to vary among the class members because

"allegations of price-fixing relate to the defendants' conduct,"

not plaintiffs'. In re Vitamin C Antitrust Litig., 209 F.R.D.

251, 264     (D.D.C. 2012). Further, whether a price-fixing

conspiracy exists is the central question in this case,

outweighing any questions that might be particuYar to individual

plaintiffs. Thus, the predominance test is likely met here.

       ii.   Superiority of class action

                                     27
     Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 28 of 31



  Whether a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy is an

"explicitly comparative" inquiry, requiring the court to

consider alternatives to class settlement. In re Petrobras

Securities, 862 F.3d 250, 268     (2d Cir. 2017). Courts are

instructed to consider four nonexclusive factors in determining

whether the class action is a superior device, including:         (1)

the class members' interests in litigating individually in

separate actions;   (2) the extent and nature of any related

litigation already commenced by class members;       (3) the

desirability of concentrating litigation of the claims in a

particular forum; and (4) the manageability of the litigation as

a class action. Fed R. Civ. P. 23(b) (3).

  Here, the large size of the class and potentially small

recovery of many individual plaintiffs suggests that class

members' interests are likely served by a class action. Amchem,

521 U.S. at 617   (discussing how the "very core of the class

action mechanism" is to increase the litigating power of groups

of plaintiffs who might not otherwise find litigation

economical). Further, concentrating the case in one forum will

help improve fairness and efficiency in adjudication of the

claims of plaintiffs, who are widely dispersed. Finally, the

case will be manageable as a class action. Thus, a class action




                                   28
        Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 29 of 31



is likely superior and the requirements of Rule 23(b) are likely

met.

IV.     Notice Plan

      For the reasons discussed above, the Court will likely be able

to approve the proposed settlement and certify the class under

Rule 23 (e) (1) (B), warranting preliminary approval. Pursuant to

this finding, "the court must direct notice in a reasonable

manner to all class members who would be bound by the proposal."

Fed. R. Civ. P. 23(e) (1) (B). Where, as here, notice is to be

provided to a settlement class that is proposed to be certified

under Rule 23(b) (3), the Court is required to "direct to class

members the best notice that is practicable under the

circumstance [s]." Fed. R. Civ. P. 23 (c) (2) (B). This includes

"individual notice to all members who can be identified through

reasonable effort." Id. Notice may be made by "United States

mail, electronic means, or other appropriate means." Id. "The

standard for the adequacy of a settlement notice in a class

action under either the Due Process Clause or the Federal Rules

is measured by reasonableness." Wal-Mart Stores, 396 F.3d at

113-14.

      Plaintiffs here propose a Notice Plan, ECF No. 267, Exh. 3,

that satisfies this requirement of reasonableness. Plaintiffs

propose to send a Mail Notice, ECF No. 281, Exh. 1, and Claim

Form, ECF No. 281, Exh. 2, to potential members of the

                                      29
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 30 of 31



settlement class. Plaintiffs will identify such potential

members based on information from DB and FTN, as well as

additional research including lists of large traders in GSE bond

transaction, regional banks, and credit unions. The chosen plan

administrator will send the notice and form to additional

potential settlement class members. In addition to mailing

notice, the Plaintiffs will publish a Publication Notice, ECF

No. 281, Exh. 3, in news outlets, and issue a global press

release. The claim administrator will set up a website where

settlement class members can receive more information than is

contained in these mass publications. Finally, the claims

administrator will establish a telephone helpline and monitor an

email address to which class members may write. This multi-

faceted plan involving individual mail notice and publication

satisfies the requirements of Rules 23 (e) (1) (B) and 23 (c) (2) (B).

  The Court must also ensure that the proposed notice is

substantively reasonable. Under Rule 23 (c) (2) (B), the notice

must

   clearly and concisely state in plain, easily understood

   language:    (i) the nature of the action;      (ii) the definition of

   the class certified;      (iii) the class claims, issues, or

   defenses;    (iv) that a class member may enter an appearance

   through an attorney if the member so desires;          (v) that the

   court will exclude from the class any member who requests

                                      30
       Case 1:19-cv-01704-JSR Document 298 Filed 11/08/19 Page 31 of 31



     exclusion;    (vi) the time and manner for requesting exclusion;

     and (vii) the binding effect of a class judgment on members

     under Rule 23 (c) (3).

Plaintiffs' proposed notices satisfy all of these requirements.
                                                         ;




Thus, the Notice Plan and proposed class notices are reasonable

and constitute "the best notice that is practicable under the

circumstances." The Court thus directs their us~.

V.     Conclusion

     The Court ultimately finds that it will likely be able to

approve the proposal under Rule 23(e) (2) and certify the class

for purposes of judgment on the proposal. For these reasons, the

Court preliminarily approved the DB and FTN Settlement

Agreements on October 29, 2019 and hereby reaffirms that

determination.

     SO ORDERED.

Dated:       New York, NY

             November   1?.,   2019             JED S. RAKOFF, U.S.D.J.




                                      31
